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D.c.
IN THE UNITED sTATES DISTRICT coURT F"'ED B¥ -- --

FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN D:vISION 05 AUG 19 PH 3- 35

 

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ENZINE D. ANDERSON, CLERA U.`-_.':-" jail _COJHT

   

Plaintiff,
VS. NO. 04-2418-Mav
SCHNUCK M_ARKETS , INC . ,

Defendant.

 

ORDER AMENDING SCHEDULE

 

Pursuant to the June 22, 2005, joint motion filed by the
parties to set new deadlines in this matter, the court held a
status conference on July 19, 2005. Attending on behalf of the
plaintiff Were Danese Banks and Elaine Sheng. Participating on
behalf of the defendant were Sam Crain and Brian Brink. For good
cause shown, the court grants the motion and amends the

scheduling order as follows:

l. The deadline for completing fact discovery is September
15, 2005.

2. Plaintiff's expert disclosures deadline is October 4,
2005.

3. Defendant’s expert disclosures deadline is November 4,
2005.

4. The deadline for completing depositions is December 22,
2005.

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will

The deadline for completing all discovery is December
22, 2005.

The deadline for filing potentially dispositive motions
is January 31, 2006. Responses are due February 28,
2006.

The parties will submit a proposed joint pretrial order
by 5:00 p.m. on April 7, 2006.

A pretrial conference will be held on Friday, April 14,
2006, at ll:OO a.m.

The jury trial is reset to Monday, April 24, 2006, at

9:30 a.m. and is expected to last 5 to 7 days.

The parties will seek mediation before September 30, 2005.
Absent good cause, the amended schedule set by this order
not be modified or extended.

So ORDERED this ( 8/4gay of August, 2005.

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SAMUEL H. MAYS, JR.
U'NI’I‘ED STATES DISTRICT JUDGE

 

    
 

 
 
      

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This notice confirms a copy of the document docketed as number 54 in
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Honorable Samuel Mays
US DISTRICT COURT

